           Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 1 of 39



 1

 2   AZRA MEHDI (SBN 220406)
     azram@themehdifirm.com
 3   The Mehdi Firm, PC
     201 Mission Street, Suite 1200
 4   San Francisco, CA 94105
     Phone: 415.293.8039
 5   Facsimile: 415.432.4301
 6   Attorney for Plaintiff
 7   [additional counsel appears on signature page]
 8

 9                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                     SAN FRANCISCO DIVISION
11
     CORI B. TARATOOT, Derivatively on Behalf
12   of NETFLIX, INC.,                                Civil File Action

13    Plaintiff,                                      No. ___________________
14   v.                                               JURY TRIAL DEMANDED
15
     RICHARD BARTON, RODOLPHE BELMER,
16   MATHIAS DÖPFNER, TIMOTHY HALEY,
     REED HASTINGS, DAVID HYMAN, JAY
17   HOAG, LESLIE KILGORE, STRIVE
     MASIYIWA, ANN MATHER, SPENCER
18   NEUMANN, GARY PETERS, TED
     SARANDOS, BRAD SMITH, and ANNE
19
     SWEENEY
20

21    Defendants,

22   – and –

23   NETFLIX, INC., a Delaware Corporation,

24    Nominal Defendant.

25

26                                                    VERIFIED STOCKHOLDER
                                                      DERIVATIVE COMPLAINT
27

28
                                                                            VERIFIED STOCKHOLDER
                                                                            DERIVATIVE COMPLAINT
           Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 2 of 39



 1              Plaintiff Cori B. Taratoot (“Plaintiff”), a citizen of Oregon, by her attorneys, submits this
 2   Verified Stockholder Derivative Complaint for Breach of Fiduciary Duty, Waste of Corporate
 3
     Assets, and Unjust Enrichment. Plaintiff alleges the following on information and belief, except
 4
     as to the allegations specifically pertaining to Plaintiff which are based on personal knowledge.
 5
           I.          INTRODUCTION
 6

 7              1.     This is a stockholder derivative action brought on behalf of and for the benefit of

 8   Netflix, Inc. (“Netflix” or the “Company”), against certain of its current and former officers and

 9   directors, seeking to remedy their breaches of fiduciary duty, waste of corporate assets, and unjust
10
     enrichment. Defendants’ actions, as set forth more fully herein, have caused substantial financial
11
     and reputational harm to Netflix.
12
                2.     Netflix is the world’s leading streaming entertainment subscription-based service
13
     company. Netflix creates and distributes television series, documentaries, feature films and other
14

15   entertainment on its streaming platform and allows its members to watch these programs without

16   commercials on an internet-connected device.
17              3.     As a direct result of Defendants’ unlawful course of conduct described herein, the
18
     Company misled the investing public about its business, operations, and prospects. Consequently,
19
     when the true facts were finally revealed to the public, as set forth below, the stock price of Netflix
20
     was significantly impacted, losing over $110 per share on January 21, 2022 and over $122 per share
21

22   on April 20, 2022, both on unusually heavy volume. Moreover, Netflix and Defendants Reed

23   Hastings, Theodore Sarandos Spencer Neumann and Gregory Peters are now the subject of

24   securities class action litigation in this same District, styled: Cleveland Bakers and Teamsters
25   Pension Fund v. Netflix Inc., Reed Hastings, Theodore Sarandos, Spencer Neumann and Gregory
26
     Peters, Case No. 4:22-cv-03164 (the “Securities Class Action”). The Securities Class Action sets
27
     forth claims on behalf of Netflix shareholders, asserting that the defendants in that action: (i) failed
28
                           VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                               2
           Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 3 of 39



 1   to disclose to investors that account sharing by customers and increased competition from other
 2   streaming services were creating significant challenges to Netflix; (ii) the Company was
 3
     experiencing difficulty retaining customers; (iii) as a result of the aforementioned, (a) the
 4
     Company’s growth was decelerating, (b) the Company’s financial results were being adversely
 5
     affected, and (c) the defendants’ positive statements about the Company’s business, operations and
 6

 7   prospects were materially false and/or misleading and/or lacked a reasonable basis. Through the

 8   Securities Class Action, the plaintiffs therein assert that, as a result of the aforementioned wrongful

 9   actions and the precipitous declines in the price of the Company’s securities, the plaintiffs and other
10
     class members suffered significant losses and damages.
11
              4.     Netflix and Defendants Hastings, Sarandos, and Neumann are also the subject of
12
     another similar securities class action litigation in this same District, styled: Pirani v. Netflix, Inc.,
13
     Reed Hastings, Ted Sarandos, and Spencer Neumann, Case No. 4:22-cv-2672.
14

15            5.     Despite their knowledge of the facts and information that had an adverse impact on

16   the Company’s business, operations and outlook and that the Company’s SEC filings did not reflect
17   the aforementioned adverse facts and information, and knowing that the Netflix stock was trading
18
     at an artificially inflated price as a result, several of the Defendants here, utilizing their knowledge
19
     of facts not publicly known, sold significant amounts of their personally held shares of Netflix, Inc.
20
     stock.
21

22            6.     Defendants here now face liability to the Company for their multiple breaches of

23   their fiduciary duties to the Company by, inter alia, (i) affirmatively making, allowing to be made,

24   and/or failing to correct improper statements in SEC filings relating to the Company’s business,
25   operations and prospects; (ii) failing to maintain adequate controls regarding the Company’s
26
     reporting; (iii) trading in the stock of the Company based on their knowledge of the events described
27
     herein; and (iv) such other and further actions described herein.
28
                        VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                            3
           Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 4 of 39



 1          7.      Due to the Netflix Board of Directors’ (the “Board”) knowledge and involvement in
 2   the wrongdoing, its blatant failure to act, its members’ lack of independence, and the substantial
 3
     likelihood of liability its members face, any demand upon the Board to rectify this wrongdoing
 4
     would be a wasteful and useless act. Accordingly, Plaintiff brings this action to remedy the harm
 5
     to Netflix caused by Defendants’ faithless actions.
 6

 7         II.      JURISDICTION AND VENUE

 8          8.      This Court has jurisdiction under 28 U.S.C. § 1332. Complete diversity among the

 9   parties exists and the amount in controversy exceeds $75,000, exclusive of interest and costs.
10
            9.      This Court has jurisdiction over each named Defendant.
11
            10.     Additionally, this Court has specific jurisdiction over each named Defendant herein
12
     because each Defendant is either a corporation that conducts business in and maintains operations
13
     in this District, or is an individual who has sufficient minimum contacts with this District so as to
14

15   render the exercise of jurisdiction by the District Court permissible under traditional notions of fair

16   play and substantial justice.
17          11.     Venue is proper in this Court pursuant to 28 U.S.C. §1391 because: (i) Netflix
18
     maintains executive offices in this District; (ii) one or more of the Defendants either resides in or
19
     maintains executive offices in this District; (iii) a substantial portion of the transactions and wrongs
20
     complained of herein, including the Defendants' primary participation in the wrongful acts detailed
21

22   herein, and aiding and abetting and conspiracy in violation of fiduciary duties owed to Netflix

23   occurred in this District; and (iv) Defendants have received substantial compensation in this District

24   by doing business here and engaging in numerous activities that had an effect in this District.
25

26

27

28
                        VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                            4
           Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 5 of 39



 1        III.      THE PARTIES
 2                  A.     Plaintiff
 3
            12.     Plaintiff Cori B. Taratoot was stockholder of Netflix at the time of wrongdoing
 4
     complained of, has continuously been a stockholder since that time, and is a current Netflix
 5
     stockholder.
 6

 7          13.     Plaintiff is a citizen of Oregon.

 8                  B.     Nominal Defendant

 9          14.     Nominal Defendant Netflix.com, Inc. is a publicly-traded Delaware corporation
10
     with its principal executive offices located at 100 Winchester Circle, Los Gatos, California 95032.
11
            15.     The Company’s common stock trades on the NASDAQ under the ticker symbol
12
     “NFLX.” Netflix has over 425 million shares of common stock outstanding.
13
            C.      Defendants
14

15          16.     Defendant Reed Hastings (Hastings) is the Co-Chief Executive Officer (“Co-CEO”)

16   and President of the Company.
17          17.     Defendant Hastings is also the co-founder of Netflix. He has been a Director and the
18
     Chairperson of the Company since 1997.
19
            18.     Upon information and belief, Defendant Hastings is a citizen of the state of
20
     California.
21

22          19.     Netflix has paid Defendant Hastings compensation totaling $34,650,000.00 in 2021

23   and $33,000,000.00 in 2020.

24          20.     Defendant Ted Sarandos (“Sarandos”) is the Co-CEO and Chief Content Creator of
25   the Company.
26
            21.     Defendant Sarandos has been a Director of Netflix since 2020. Defendant Sarandos
27
     also has served on one or more other public company boards.
28
                         VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                             5
           Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 6 of 39



 1          22.    Upon information and belief, Defendant Sarandos is a citizen of the state of
 2   California.
 3
            23.    Netflix has paid Defendant Sarandos compensation totaling $34,650,000.00 in 2021
 4
     and $33,000,000.00 in 2020.
 5
            24.    Defendant Spencer Neumann (“Neumann”) is the Company’s Chief Financial
 6

 7   Officer (“CFO”).

 8          25.    Upon information and belief, Defendant Neumann is a citizen of the state of

 9   California.
10
            26.    Netflix has paid Neumann compensation totaling $11,550,000.00 in 2021 and
11
     $11,000,000.00 in 2020.
12
            27.    Defendant Gregory Peters (“Peters”) is the Company’s Chief Operating Officer and
13
     Chief Product Officer.
14

15          28.    Upon information and belief, Defendant Peters is a citizen of the state of

16   California.
17          29.    In 2021 and 2020, Netflix paid Defendant Peters compensation totaling
18
     $18,900,000.00 and $18,000,000.00, respectively.
19
            30.    Defendant David Hyman (“Hyman”) is the Company’s Secretary and Chief Legal
20
     Officer.
21

22          31.    Upon information and belief, Defendant Hyman is a citizen of the state of

23   California.

24          32.    Netflix has paid Defendant Hyman compensation totaling $9,450,000.00 in 2021
25   and $9,000,000.00 in 2020.
26
            33.    Defendant Jay Hoag (“Hoag”) is a Director of Netflix.
27

28
                        VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                            6
           Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 7 of 39



 1          34.    Defendant Hoag has been a Director of Netflix since 1999. Defendant Hoag is a
 2   venture capital investor and has served on one or more other public boards.
 3
            35.    Upon information and belief, Defendant Hoag is a citizen of the state of California.
 4
            36.    Defendant Ann Mather (“Mather”) is a Director of Netflix.
 5
            37.    Defendant Mather has been a Director of Netflix since 2015. She also has held
 6

 7   senior positions with large entertainment companies and has served on one or more other public

 8   company boards.

 9          38.     Upon information and belief, Defendant Mather is a citizen of the state of
10
     California.
11
            39.    Defendant Timothy Haley (“Haley”) is a Director of Netflix.
12
            40.    Defendant Haley has been a Director of Netflix since 1998. He is a venture capital
13
     investor and has served on one or more other public company boards.
14

15          41.    Upon information and belief, Defendant Haley is a citizen of the state of California.

16          42.    Defendant Leslie Kilgore (“Kilgore”) is a Director of Netflix.
17          43.    Defendant Kilgore has been a Director of Netflix since 1998. She is the former
18
     Chief Marketing Officer of Netflix and has served on one or more other public company boards.
19
            44.    Upon information and belief, Defendant Kilgore is a citizen of the state of
20
     California.
21

22          45.    Defendant Strive Masiyiwa (“Masiyiwa”) is a Director of Netflix.

23          46.    Defendant Masiyiwa has been a Director of Netflix since 2020, is a

24   telecommunications company founder and has served on one or more other public company boards.
25          47.    Upon information and belief, Defendant Masiyiwa resides in the United Kingdom.
26
            48.    Defendant Richard Barton (“Barton”) is a Director of Netflix.
27

28
                       VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                           7
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 8 of 39



 1          49.    Defendant Barton has been a Director of Netflix since 2002, founded several
 2   internet-based companies and has served on one or more other public company boards.
 3
            50.    Upon information and belief, Defendant Barton is a citizen of the state of
 4
     Washington.
 5
            51.    Defendant Rodolphe Belmer (“Belmer”) is a Director of Netflix.
 6

 7          52.    Defendant Belmer has been a Director of Netflix since 2018 and is a media executive

 8   and has been the CEO and/or director of several other companies.

 9          53.    Upon information and belief, Defendant Belmer is a citizen of France.
10
            54.    Defendant Mathias Döpfner (“Döpfner”) is a Director of Netflix.
11
            55.    Defendant Döpfner has been a Director of Netflix since 2018, has media company
12
     experience and currently is the Chairman and CEO of a digital publishing house. He also has served
13
     on one or more other public company boards.
14

15          56.    Upon information and belief, Defendant Döpfner is a citizen of Germany.

16          57.    Defendant Brad Smith (“Smith”) is a Director of Netflix.
17          58.    Defendant Smith has been a Director of Netflix since 2015, is the President and Vice
18
     Chair of Microsoft, is a lawyer and is a former Partner of Covington and Burling, a multi-national
19
     law firm.
20
            59.    Upon information and belief, Defendant Smith is a citizen of the state of
21

22   Washington.

23          60.    The Netflix Board of Directors does not receive cash for services they provide as

24   directors or members of Board committees. Each non-employee director receives stock options
25   pursuant to the Director Equity Compensation Plan. The Company’s Director Equity Compensation
26
     Plan provides for a monthly grant of stock options to each non-employee director of the Company
27

28
                       VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                           8
           Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 9 of 39



 1   in consideration for services provided to Netflix and subject to the terms and conditions of the
 2   Company’s equity compensation plans.
 3
            61.     The number of options granted each month to each of Netflix’s directors is
 4
     determined by the following formula: $25,000 / ([fair market value on the date of grant] x
 5
     0.40). Each monthly grant is made on the first trading day of the month, is fully vested upon grant,
 6

 7   and is exercisable at a strike price equal to the fair market value on the date of grant.

 8          D.      Netflix Board Committees

 9          62.     Most of Netflix’s Board members serves on one of three committees.
10
            63.     In 2021, the Board members who served on each committee were as follows:
11
                             Name                        Committee                   Role
12

13                       Richard Barton                     Audit                  Member

14                       Leslie Kilgore                     Audit                  Member
15                        Ann Mather                        Audit                    Chair
16
                       Rodolphe Belmer                 Compensation                Member
17
                        Mathias Döpfner                Compensation                Member
18
                         Timothy Haley                 Compensation                  Chair
19

20                       Anne Sweeney                  Compensation                Member

21                          Jay Hoag                  Nominating and                 Chair
                                                       Governance
22
                           Brad Smith                 Nominating and               Member
23                                                     Governance

24

25

26

27

28
                        VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                            9
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 10 of 39



 1          64.    In 2022, the Board members who served on each committee were as follows:
 2
                            Name                     Committee                 Role
 3
                        Richard Barton                  Audit                Member
 4
                        Leslie Kilgore                  Audit                Member
 5
                         Ann Mather                     Audit                  Chair
 6
                      Rodolphe Belmer               Compensation             Member
 7
                       Mathias Döpfner              Compensation             Member
 8
                        Timothy Haley               Compensation               Chair
 9
                        Anne Sweeney                Compensation             Member
10                         Jay Hoag                Nominating and              Chair
11                                                  Governance
                       Strive Masiyiwa             Nominating and            Member
12                                                  Governance
                          Brad Smith               Nominating and            Member
13                                                  Governance
14          65.    Defendants Barton, Belmer, Döpfner, Haley, Hastings, Hyman, Hoag, Kilgore,
15
     Masiyiwa, Mather, Neumann, Peters, Sarandos, Smith, and Sweeney shall be referred to herein as
16
     the “Individual Defendants.” Defendants Hastings, Hyman, Neumann, Peters, and Sarandos
17
     collectively shall be referred to herein as the “Officer Defendants.” Defendants Barton, Kilgore
18

19   and Mather collectively shall be referred to herein as the “Audit Committee Defendants.”

20   Defendants Belmer, Döpfner, Haley, Sweeney collectively shall be referred to herein as the

21   “Compensation Defendants.” Defendants Hoag, Masiyiwa and Smith collectively shall be referred
22
     to herein as the “Nominating and Governance Defendants.” Defendants Barton, Belmer, Döpfner,
23
     Haley, Hoag, Kilgore, Masiyiwa, Mather and Smith collectively shall be referred to herein as the
24
     “Outside Director Defendants.”
25
            66.    Defendants Peters, Hoag, Mather, Sarandos, and Hyman are referred to herein as
26

27   the “Insider Selling Defendants.”

28
                       VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                          10
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 11 of 39



 1       IV.          DEFENDANTS’ MISCONDUCT
 2            A.      Company Background
 3
              67.     Founded in 1997, Netflix is now the largest streaming entertainment service in the
 4
     world.      It offers a vast catalogue, including movies, television shows, original content and
 5
     gaming.
 6

 7            68.     Originally a DVD mail order rental company, Netflix quickly moved from a per

 8   DVD rental model to a subscription service. In 2007, the Company lunched its streaming media

 9   service. A month after launching the streaming service, Netflix had delivered over a billion DVDs
10
     to customers. While Netflix still has a DVD subscription arm, its principal business is in streaming
11
     services.
12
              69.     From 2007 to 2022, Netflix significantly expanded in terms of programming, which
13
     now includes previously released movies and television programs, the Company’s own original
14

15   content and gaming. As of December 2021, Netflix had over 200 million paying subscriber

16   households, in at least 190 countries, and had over 15,000 different titles globally which could be
17   streamed. Because of its extensive content and ease of use, Netflix is regularly touted by consumer
18
     magazines as the best streaming service to use. According to Netflix, it “redefined how people
19
     watch video entertainment.” 2022 Proxy Statement at 22.
20
              B.      Netflix’s Customer Base
21

22            70.     Netflix’s financial success is dependent upon keeping existing customers signed on

23   to its subscription streaming service and expanding its subscriber base. Indeed, in its 2020 10k,

24   Netflix states, “Our core strategy is to grow our streaming membership business globally within
25   the parameters of our operating margin target. We are continuously improving our members’
26
     experience by expanding our content with a focus on a programming mix of content that delights
27
     our customers and attracts new members.” Netflix 2020 10-K at 4.
28
                         VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                            11
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 12 of 39



 1          71.     According to its 2020 10-K at 21, Netflix had approximately 89 million subscribers
 2   in 2016. It increased its subscribers to 110 million in 2017. In 2018, Netflix had over 139 million
 3
     subscribers. The Company continued that steady growth in 2019 with 167 million subscribers.
 4
            72.     In 2020, the worldwide Covid-19 pandemic abruptly and significantly changed the
 5
     way that consumers worldwide were willing and able to access entertainment. As most countries
 6

 7   put restrictions on what kinds of businesses could remain open and could be frequented by

 8   customers, and as consumers of movie theaters and other outside of the home entertainment options

 9   significantly restricted their own movement because of the pandemic, home entertainment
10
     consumption markedly increased.
11
            73.     During 2020, when the pandemic closures were at their height, Netflix gained a
12
     record 37 million customers, representing a 31% increase from 2019’s paid net additional
13
     subscribers for a total of over 203 million. Netflix 2020 10-K at 21.
14

15          74.     In January 2021, the Company reported its fourth quarter 2020 financial results,

16   noting that paid streaming memberships increased over 23% over the prior year, with revenue 1%
17   higher than forecasted.
18
            75.     In its April 2021 filings, Netflix noted: “The extraordinary events of Covid-19 led
19
     to unprecedented membership grown in 2020... we ended 2020 with a bigger membership and
20
     revenue base than we would otherwise have had, contributing to record Q1’21 revenues.” Netflix
21

22   2020 8-K at 2. Even though countries were opening up and fewer people were getting their

23   entertainment solely in their homes, and notwithstanding new streaming having launched and other

24   expanding their customer base, Neumann assured investors that the “business remains healthy”
25   despite “noise in the near term.” On the April 20, 2021 earnings call, Neumann stated that while
26
     the environment had become more competitive, he did not express any concern about Netflix’s
27
     prospects, noting that the industry is “intensely competitive, but it always has been.”
28
                        VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                           12
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 13 of 39



 1          76.     That previous month, March 2021, Netflix Board of Directors authorized the
 2   repurchase of up to $5 billion of our common stock, with no expiration date for that repurchase (the
 3
     “Stock Repurchase Program”). Netflix 2021 10-K at 56.
 4
            77.     On July 20, 2021, when Netflix announced its second quarter 2021 financial results,
 5
     Neumann continued to be optimistic about Netflix’s prospects, notwithstanding the “choppiness”
 6

 7   in growth due to the after-effect of the “big pull forward in 2020.” He assured investors that the

 8   “business is performing well.”

 9          78.     October 19, 2021, Netflix announced its third quarter 2021 financial results in a
10
     letter to the shareholders. In the call to discuss the financial results with analysts and investors,
11
     Neumann stated that “the business remained healthy as it had been throughout the year” and that
12
     management “expect[ed] to continue in terms of that healthy retention and then this kind of
13
     acceleration as we get past those initial market reopenings with COVID [and] past the COVID pull
14

15   forwarding into the strength of our slate.”

16          79.     Between March 2021 and December 31, 2021, the Company had repurchased
17   1,182,410 shares of common stock for an aggregate amount of $600 million pursuant to the Stock
18
     Repurchase Program. Netflix 2021 10-K at 56.
19
        C. The Truth is Revealed
20
            80.     On January 20, 2022, after the markets closed, Netflix finally disclosed that it had
21

22   “slightly over-forecasted paid net adds in Q4.” In a letter to shareholders, Netflix announced:

23                  We slightly over-forecasted paid net adds in Q4 (8.3m actual
                    compared to the 8.5m paid net adds in both the year ago quarter and
24                  our beginning of quarter projection). For the full year 2021, paid net
                    adds totaled 18m vs 37m in 2020. Our service continues to grow
25                  globally, with more than 90% of our paid net adds in 2021 coming
26                  from outside the UCAN region. Nonetheless, our UCAN region
                    added 1.2m paid memberships in Q4’21 (vs. 0.9m last year), marking
27                  our strongest quarter of member growth in this region since the early
                    days of COVID-19 in 2020. In APAC, we increased paid
28                  memberships by 2.6m (vs. 2.0m in the year ago quarter) with strong
                        VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                           13
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 14 of 39



 1                  growth in both Japan and India. EMEA was our largest contributor
                    to paid net adds in Q4 (3.5m vs. 4.5m in the prior year period) and
 2                  the region delivered record quarterly revenue, exceeding $2.5 billion
 3                  for the first time. LATAM paid net adds totaled 1.0m vs. 1.2m last
                    year. * * * For Q1’22, we forecast paid net adds of 2.5m vs. 4.0m in
 4                  the year ago quarter. Our guidance reflects a more backend weighted
                    content slate in Q1’22 (for example, Bridgerton S2 and our new
 5                  original film The Adam Project will both be launching in March). In
                    addition, while retention and engagement remain healthy, acquisition
 6                  growth has not yet re-accelerated to pre-Covid levels. We think this
 7                  may be due to several factors including the ongoing Covid overhang
                    and macro-economic hardship in several parts of the world like
 8                  LATAM.

 9          81.     Further, Netflix stated that “competition intensified over the last 24 months as
10
     entertainment companies all around the world develop[ed] their own streaming offerings.” Netflix
11
     touted its growth “in every country and region in which these new streaming alternatives have
12
     launched” but noted that “this added competition may be affecting our marginal growth some.”
13
            82.     The next day after this belated disclosure, the Company’s stock price fell $100.75
14

15   per share, closing at $397.50 per share in unusually heavy volume.

16          83.     Netflix held a conference call that same day to discuss the financial results with
17   analysts and investors. Defendant Neumann stated during that call that “overall, the business was
18
     healthy. Retention was strong. Churn was down.” He further stated that “acquisition was growing,
19
     just not growing quite as fast as we were perhaps hoping or forecasting,” which was “probably a
20
     bit of just overall COVID overhang that’s still happening . . . [and] some macroeconomic strain in
21

22   some parts of the world.”

23          84.     On January 27, 2022, Netflix filed with the SEC on Form 10-K its annual report for

24   the period ended December 31, 2021. Therein, the Company provided the following risk
25   disclosures:
26
                    If our efforts to attract and retain members are not successful, our business
27                  will be adversely affected. We have experienced significant membership
                    growth over the past several years. Our penetration and growth rates vary
28                  between the jurisdictions where we provide our service. In countries where
                       VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                          14
     Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 15 of 39



 1          we have been operating for many years or where we are highly penetrated,
            our membership growth is slower than in newer or less penetrated countries.
 2          Our ability to continue to attract and retain members will depend in part on
 3          our ability to consistently provide our members in countries around the
            globe with compelling content choices, effectively drive conversation
 4          around our content and service, as well as provide a quality experience for
            choosing and enjoying TV series, documentaries, feature films and mobile
 5          games. Furthermore, the relative service levels, content offerings, pricing
            and related features of competitors to our service may adversely impact our
 6          ability to attract and retain memberships. Competitors include other
 7          entertainment video providers, such as MVPDs, and streaming
            entertainment providers (including those that provide pirated content),
 8          video gaming providers, as well as user-generated content, and more
            broadly other sources of entertainment that our members could choose in
 9          their moments of free time.
10
            If consumers do not perceive our service offering to be of value, including
11          if we introduce new or adjust existing features, adjust pricing or service
            offerings, or change the mix of content in a manner that is not favorably
12          received by them, we may not be able to attract and retain members. We
            have recently expanded our entertainment video offering to include games.
13          If our efforts to develop and offer games are not valued by our current and
            future members, our ability to attract and retain members may be negatively
14
            impacted. We may, from time to time, adjust our membership pricing, our
15          membership plans, or our pricing model itself, which may not be well-
            received by consumers, and which may result in existing members
16          canceling our service or fewer new members joining our service. In
            addition, many of our members rejoin our service or originate from word-
17          of-mouth advertising from existing members. If our efforts to satisfy our
            existing members are not successful, we may not be able to attract members,
18
            and as a result, our ability to maintain and/or grow our business will be
19          adversely affected. Members cancel our service for many reasons, including
            a perception that they do not use the service sufficiently, the need to cut
20          household expenses, availability of content is unsatisfactory, competitive
            services provide a better value or experience and customer service issues
21          are not satisfactorily resolved. Membership growth is also impacted by
22          seasonality, with the fourth quarter historically representing our greatest
            growth, as well as the timing of our content release schedules. We must
23          continually add new memberships both to replace canceled memberships
            and to grow our business beyond our current membership base. While we
24          currently permit multiple users within the same household to share a single
            account for non-commercial purposes, if multi-household usage is abused
25          or if our efforts to restrict multi-household usage are ineffective, our ability
26          to add new members may be hindered and our results of operations may be
            adversely impacted. If we do not grow as expected, given, in particular, that
27          our content costs are largely fixed in nature and contracted over several
            years, we may not be able to adjust our expenditures or increase our (per
28          membership) revenues commensurate with the lowered growth rate such
               VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                  15
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 16 of 39



 1                  that our margins, liquidity and results of operation may be adversely
                    impacted. If we are unable to successfully compete with current and new
 2                  competitors in providing compelling content, retaining our existing
 3                  memberships and attracting new memberships, our business will be
                    adversely affected.
 4
            85.     On April 19, 2022, after the market closed, Netflix reported that it has lost over
 5
     200,000 subscriptions during the first quarter of 2022 instead of acquiring the projected 2.5 million
 6

 7   new subscriptions and the four million in the first quarter of 2021. Netflix was losing subscribers,

 8   rather than gaining them as it had projected.

 9          86.     In addition, Netflix told its shareholders in an April 19, 2022 letter that it was “not
10   growing revenue as fast as we’d like.” While Netflix stated that “COVID clouded the picture by
11
     significantly increasing our growth in 2020, leading us to believe that most of our slowing growth
12
     in 2021 was due to the COVID pull forward,” Netflix’s slowing revenue was due to four factors:
13
                    1.     The uptake of connected TVs, the adoption of on-demand
14          entertainment, and data costs;
15
                  2.      Netflix passwords being shared with over 100m additional
16          households, including over 30m in the United States and Canada;

17                  3.    Competition for viewing “as traditional entertainment companies
            realized streaming is the future, many new streaming services have also
18
            launched”; and
19
                   4.      Macro factors, including sluggish economic growth, inflation,
20          geopolitical events, and continued COVID disruptions.

21          87.     Through these disclosures, Netflix revealed that it had lost subscribers for the first
22
     time in more than 10 years. The results and weak outlook led to a wave of downgrades from Wall
23
     Street on fears over the Company’s long-term growth potential.
24
            88.     On this news, on April 20, 2022, Netflix’s share price fell $122.42, or over 35%, to
25
     close at $226.19 per share on unusually heavy volume.
26

27          89.     On April 20, 2022, CNBC described Netflix’s as “the worst-performing stock of

28   2022 in the S&P 500, down 62.5% year-to-date.”
                       VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                          16
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 17 of 39



 1      D. Insider Trading
 2             90.     While many of Netflix’s shareholders lost considerable sums with the shares
 3
     declining over 62% at one point, many of the Netflix insiders were able to sell their shares at
 4
     artificially high prices and avoid the staggering losses suffered by the Company’s other
 5
     shareholders. During 2021, as Netflix was touting its growth and positive financial forecast, certain
 6

 7   corporate insiders elected to sell certain of their shares of Netflix stock.

 8             91.     For example, the following chart reflects insider transactions during this time

 9   period:
10
                     Name                Date     Number of   Average Total Value of Shares
11                                               Shares Sold Price Sold       Sold
           Gregory K Peters           11/17/2021    7,058     $700.00     $4,940,600.00
12

13              Jay C Hoag            11/17/2021       2,472         $700.19        $1,730,869.68

14              Jay C Hoag            11/5/2021        7,212         $654.51        $4,720,326.12
15         Gregory K Peters           10/25/2021       6,721         $675.00        $4,536,675.00
16
           Gregory K Peters           10/21/2021       7,329         $650.00        $4,763,850.00
17
            David A Hyman             10/4/2021        18,116        $620.00        $11,231,920.00
18

19         Gregory K Peters           10/4/2021        6,455         $625.00        $4,034,375.00

20       Theodore A Sarandos          10/4/2021        69,707        $625.00        $43,566,875.00

21              Ann Mather             9/7/2021         809          $600.00         $485,400.00
22
           Gregory K Peters            9/7/2021        6,941         $600.00        $4,164,600.00
23
                Jay C Hoag            8/11/2021        8,960         $513.41        $4,600,153.60
24

25

26             92.     As a result of the false and misleading disclosures and failures to disclose as set

27   forth above, these insider stock sales conducted by the Insider Defendants occurred at artificially

28
                            VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                               17
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 18 of 39



 1   inflated share prices not truly reflective of the Company’s value, which the Insider Defendants
 2   knew when they were making those sales.
 3
           V.       DEFENDANTS’ DUTIES
 4
                    A.      Defendants’ Fiduciary Duties
 5
            93.     By reason of their positions as officers and/or directors of Netflix, and because of
 6

 7   their responsibility to control the business and corporate affairs of the Company, the Individual

 8   Defendants owed, and owe, the Company and its stockholders the fiduciary obligations of good

 9   faith, loyalty, due care, and candor and were, and are, required to use their utmost ability to control
10
     and manage the Company in a just, honest, fair, and equitable manner. Each Individual Defendant
11
     owed, and owes, the Company and its stockholders the fiduciary duty to exercise good faith and
12
     diligence in the administration of the affairs of the Company, as well as the highest obligations of
13
     fair dealing and not to act in furtherance of his or her personal interest or benefit.
14

15          94.     Because of their positions of control and authority as officers and/or directors of

16   Netflix, Defendants were able to, and did, directly and/or indirectly, exercise control over the
17   wrongful acts complained of herein. Because of their advisory, executive, managerial, and
18
     directorial positions with Netflix, each Defendant had knowledge of material, nonpublic
19
     information regarding the Company. In addition, as officers and/or directors of a publicly held
20
     company, Defendants had a duty to promptly disseminate accurate and truthful information with
21

22   regard to the Company’s business, operations, and prospects so that the market price of the

23   Company’s stock would be based on truthful and accurate information.

24          95.     At all times relevant hereto, each Individual Defendant was the agent of each of the
25   other Individual Defendants and of Netflix and was at all relevant times acting within the course
26
     and scope of such agency.
27

28
                         VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                            18
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 19 of 39



 1          96.     To discharge their duties, the Individual Defendants were, and are, required to
 2   exercise reasonable and prudent oversight and supervision over the management, policies,
 3
     practices, and controls of Netflix. By virtue of such duties, the Individual Defendants were, and
 4
     are, required to, among other things:
 5
                    a.       Exercise good faith to ensure that the Company is operated in a
 6          diligent, efficient, honest, and prudent manner and in accordance with all applicable
 7          laws (including federal and state laws, government rules and regulations, and the
            Company’s certificate of incorporation and bylaws);
 8
                  b.     Neither violate nor knowingly permit any officer, director, or
 9          employee of Netflix to violate any applicable laws, rules, or regulations;
10
                    c.     Remain informed as to the status of Netflix’s operations, and upon
11          receipt or notice of information of imprudent or unsound practices, to make a
            reasonable inquiry in connection thereto and to take steps to correct such conditions
12          or practices;

13                  d.    Establish and maintain systematic and accurate records and reports
            of the business and affairs of Netflix and procedures for the reporting of the
14
            Company’s business and affairs to the Board and to periodically investigate, or
15          cause independent investigation to be made of, said reports and records;

16                  e.      Maintain and implement an adequate, functioning system of internal
            controls, such that the affairs and operations of Netflix are conducted in accordance
17          with all applicable laws, rules, and regulations; and
18
                   f.      Truthfully and accurately inform and guide investors and analysts
19          with respect to the business operations of the Company.

20          B.      Additional Duties of the Director Defendants
21          97.     In addition to the duties discussed above with respect to all of the Individual
22
     Defendants, the Audit Committee Defendants owed specific duties to Netflix under the Audit
23
     Committee Charter (“Audit Charter”). Among other things, the Audit Charter charges the Audit
24
     Committee Defendants with the following authority and responsibilities, among others:
25

26                  a.     The Committee reviews and discusses with management and the
            independent auditors the annual audited and quarterly unaudited financial
27          statements and related disclosures included in the Company's quarterly earnings
            releases and in the Company's periodic reports on Form 10-K and 10-Q.
28
                       VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                          19
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 20 of 39



 1                  b.       The Committee discusses with management, the senior internal
            audit executive and the independent auditors the adequacy and effectiveness of the
 2          Company's disclosure controls and procedures, the adequacy and effectiveness of
 3          the Company's internal control over financial reporting, and the Company's risk
            assessment and risk management policies, including cybersecurity, legal and
 4          financial risks.

 5                 c.     Providing oversight and monitoring of the activities of Company
            management, including without limitation, the chief financial officer and principal
 6          accounting officer and controller, the Company’s internal audit function and the
 7          independent auditors with respect to the Company’s financial reporting and
            compliance process.
 8
            98.     While all Audit Committee Defendants must be “financially literate” in accordance
 9
     with SEC and NASDAQ requirements, Defendant Mather was designated by the company as
10

11   meeting the requirements of a “Financial Expert” as defined by SEC regulations. Thus, she had all

12   of the following attributes: (i) an understanding of GAAP and financial statements; (ii) an ability

13   to assess the general application of such principles in connection with the accounting for estimates,
14
     accruals and reserves; (iii) experience preparing, auditing, analyzing or evaluating financial
15
     statements that present a breadth and level of complexity of accounting issues that are generally
16
     comparable to the breadth and complexity of issues that can be reasonably be expected to be raised
17
     by the registrant’s financial statements or experience actively supervising one or more persons
18

19   engaged in such activities; (iv) an understanding of internal controls and procedures for financial

20   reporting; and (v) an understanding of all audit committee functions.
21          99.     While Defendant Mather was a “Financial Expert,” each of the Audit Committee
22
     Defendants had extensive knowledge about financial matters due to their professional experience
23
     and/or service on public company boards.
24
            C.     Additional Duties of the Nominating and Governance Committee Defendants
25

26          100.    In addition to the duties discussed above with respect to all of the Individual

27   Defendants, the Nominating and Governance Committee Defendants owed specific duties to

28   Netflix under the Nominating and Corporate Governance Committee Charter (“NCG
                       VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                          20
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 21 of 39



 1   Charter”). Among other things, the NCG Charter charges the Nominating and Corporate
 2   Governance Committee Defendants with the following authority and responsibilities, among
 3
     others:
 4
                       a.     The Committee recommends policies and procedures regarding
 5             corporate governance, and reports to the Board on corporate governance policies,
               practices and procedures.
 6

 7                     b.     Recommend to the Board, as appropriate, policies, procedures and
               practices regarding corporate governance for the Company.
 8
                       c.     Oversees the Board’s self-evaluation process to help assure and
 9             enhance its performance, with a focus on, among other things, the Board’s
               effectiveness.
10

11        VI.         DAMAGES TO NETFLIX

12             101.   As a direct and proximate result of Defendants’ misconduct, Netflix has suffered

13   and continues to suffer significant harm, including, but not limited to:
14
                      a.      Legal and other costs incurred, and the distraction of, investigating
15
               and defending securities fraud class actions and insider trading investigations, as
16
               well as potentially billions of dollars in damages in connection with any settlement
17
               of or judgment in these lawsuits;
18

19                    b.      Legal, accounting, regulatory and other costs incurred due to an

20             increase in scrutiny of Netflix’s statements concerning its projections and business
21             outlook;
22
                      c.      The irreparable harm to the Company’s reputation, loss of
23
               credibility, and loss of goodwill associated with the Company’s failure to disclose
24
               problems that it knew or should have known that it had with subscriber retention,
25

26             business expansion, subscription account sharing and financial outlook and the

27             specter of insider trading;

28
                           VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                              21
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 22 of 39



 1                    d.      Costs incurred in connection with the Company’s repurchases of its
 2             common stock at artificially inflated prices as a result of the material misstatements
 3
               and omissions detailed herein; and
 4
                      d.      Costs incurred from compensation and benefits paid to Defendants
 5
               and other members of Netflix’s management while they were engaged in the
 6

 7             improper conduct alleged herein.

 8       VII.         CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

 9             102.   In committing the wrongful acts alleged herein, Defendants have pursued, or joined
10
     in the pursuit of, a common course of conduct and have acted in concert with and conspired with
11
     one another in furtherance of their common plan or design. In addition to the wrongful conduct
12
     alleged herein giving rise to primary liability, Defendants further aided and abetted and/or assisted
13
     each other in breaching their respective duties.
14

15             103.   During all times relevant hereto, Defendants, collectively and individually, initiated

16   a course of conduct that was designed to and did, among other things, deceive the investing public
17   including stockholders of Netflix. In furtherance of this plan, conspiracy, and course of conduct,
18
     Defendants, collectively and individually, took the actions set forth herein.
19
               104.   Defendants engaged in a conspiracy, common enterprise, and/or common course of
20
     conduct. During this time, Defendants caused and/or allowed the improper conduct described
21

22   herein.

23             105.   The purpose and effect of Defendants’ conspiracy, common enterprise, and/or

24   common course of conduct was, among other things, to disguise Defendants’ violations of state and
25   federal law, breaches of fiduciary duty, waste of corporate assets, unjust enrichment, and to conceal
26
     adverse information concerning the Company’s business, operations, and future prospects.
27

28
                           VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                              22
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 23 of 39



 1          106.    Defendants accomplished their conspiracy, common enterprise, and/or common
 2   course of conduct by causing the Company to purposefully or recklessly engage in the improper
 3
     conduct described herein. Because Defendants’ actions occurred under the authority of the Board,
 4
     each Defendant was a direct, necessary, and substantial participant in the conspiracy, common
 5
     enterprise, and/or common course of conduct complained of herein.
 6

 7          107.    Each Defendant aided and abetted and rendered substantial assistance in the wrongs

 8   complained of herein. In taking such actions to substantially assist the commission of the

 9   wrongdoing complained of herein, each Defendant acted with knowledge of the primary
10
     wrongdoing, substantially assisted in the accomplishment of that wrongdoing, and was aware of
11
     his or her overall contribution to and furtherance of the wrongdoing.
12
       VIII.        DERIVATIVE ALLEGATIONS
13
            108.    Plaintiff brings this action derivatively in the right and for the benefit of the
14

15   Company to redress injuries suffered, and to be suffered, by Netflix as a direct result of the breaches

16   of fiduciary duty, waste of corporate assets, and unjust enrichment by the Individual Defendants.
17          109.    Netflix is named as the nominal defendant in this case solely in a derivative
18
     capacity. This is not a collusive action to confer jurisdiction on this Court that it would not
19
     otherwise have.
20
            110.    Plaintiff will adequately and fairly represent the interests of the Company and its
21

22   stockholders in prosecuting this action.

23          111.    Due to the Board’s direct involvement in the wrongdoing, its members’ lack of

24   independence, and the substantial likelihood of liability its members face, prosecution of this action
25   independent of the Board is in the best interests of the Company and its stockholders.
26

27

28
                        VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                           23
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 24 of 39



 1        IX.       FUTILITY ALLEGATIONS
 2          112.    Netflix’s current Board consists of twelve (12) members, the Director
 3
     Defendants. As shown above, despite having knowledge of facts and information which rendered
 4
     its SEC filings and public statements false and/or misleading, Netflix failed to correct the same in
 5
     a timely manner. Further, as set forth above, numerous insiders, with knowledge that the SEC
 6

 7   filings and public statements described above were false and/or misleading, traded in Netflix stock

 8   at an inflated share price in dereliction of their duties of care and loyalty to Netflix shareholders.

 9          113.    Plaintiff has not made any demand on the Board to institute this action because, for
10
     the reasons set forth herein, such a demand would be a futile and useless act.
11
                A. Demand Is Excused as to Defendants Hastings and Sarandos Because They
12                 Lack Independence

13          114.    Defendants Hastings and Sarandos fall under the NASDAQ’s definition of directors
14
     who are not independent. According to the NASDAQ’s rules regarding listing, a director is not
15
     independent if he or she is, or has been within the last three years, an employee or an executive
16
     officer of the listed company.
17
            115.    Because Hastings is Netflix’s current Co-CEO and President of the Company, he
18

19   may not be considered independent.

20          116.    Likewise, Defendant Sarandos may not be considered independent as he serves as
21   the Co-CEO and Chief Content Creator of Netflix.
22
            117.    The Company’s 2022 Proxy Statement does not indicate that Defendants Hastings
23
     and Sarandos are “independent” as defined by the NASDAQ rules.
24
            118.    Furthermore, Defendant Hastings is not independent because his principal
25

26   professional occupation is his employment with Netflix.

27          119.    As President and Co-CEO of Netflix beginning in 1997, Defendant Hastings

28   received significant compensation from the Company as described herein. Accordingly, Defendant
                        VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                           24
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 25 of 39



 1   Hastings lacks independence from the other members of the Board due to his interest in maintaining
 2   his executive positions.
 3
             120.   In addition, Defendant Sarandos is not independent because his principal
 4
     professional occupation is his employment with Netflix.
 5
             121.   As Chief Content Creator of Netflix since 2000 and Co-CEO of Netflix beginning
 6

 7   in July 2020, Defendant Sarandos received significant compensation from the Company as

 8   described herein. Accordingly, Defendant Sarandos lacks independence from the other members

 9   of the Board due to his interest in maintaining his executive positions.
10
             122.   This lack of independence renders Defendants Hastings and Sarandos incapable of
11
     impartially considering a demand to commence and vigorously prosecute this action.
12
             B.     Demand is Excused as to Defendant Kilgore.
13
             123.   Defendant Kilgore served as the Chief Marketing Officer of Netflix from 2000-
14

15   2012.

16           124.   During her time as Chief Marketing Officer, Defendant Kilgore worked closely with
17   Defendants Hastings, Hoag, Hyman, and Peters.
18
             125.   Defendant Kilgore’s longstanding professional ties to Defendants Hastings, Hoag,
19
     Hyman, and Peters prevents the former from independently considering a demand.
20
             126.   Further, during Defendant Kilgore’s tenure, she oversaw conduct at the company
21

22   similar to the misconduct at issue here involving account sharing and representations about

23   continued growth in the number of paying subscribers.

24           127.   Accordingly, Defendant Kilgore is not disinterested. The lack of independence
25   renders Defendant Kilgore incapable of impartially considering a demand to commence and
26
     vigorously prosecute this action.
27

28
                        VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                           25
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 26 of 39



 1                C. Demand is Excused as to Defendant Smith.
 2             128.   Defendant Smith has been President and Chief Legal Officer of Microsoft since
 3
     2015, and he previously held high-level roles at Microsoft since 1993.
 4
               129.   Defendant Hastings joined was on Microsoft’s Board of Directors from 2007 until
 5
     2013.
 6

 7             130.   Defendant Smith’s role at Microsoft was subject to the oversight of the Microsoft

 8   Board of Directors, of which Defendant Hastings was a leading director. To the extent that

 9   Defendant Smith owed his continuing employment with Microsoft to Defendant Hastings and has
10
     close professional ties with Defendant Hastings, he cannot act independently because he remains
11
     beholden to Defendant Hastings. Therefore, Demand upon Defendant Smith is futile.
12
                  D. Demand Is Excused Because the Director Defendants Face a Substantial
13                   Likelihood of Liability for Their Misconduct.
14
               131.   Each of the Director Defendants breached their fiduciary duties by, among other
15
     things:
16
                      a.      Failing to disclose known problems with its financial outlook and
17
               projections, given that of the over three hundred million households that utilized
18

19             Netflix’s streaming service approximately one hundred million, or almost one

20             third were households who were using the passwords of other Netflix subscribers,
21             thus substantially decreasing the likelihood that such households would purchase
22
               streaming services they were receiving at no cost.
23
                      b.      Failing to disclose the extent to which competition from other
24
               streaming services adversely affected the Company’s financial outlook.
25

26                    c.      Failing to maintain an adequate system of oversight and other

27             internal controls, which were necessary to prevent or promptly correct the improper

28             statements made on the Company’s behalf;
                           VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                              26
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 27 of 39



 1                  d.     Themselves affirmatively making, allowing to be made, and/or
 2          failing to correct improper statements in SEC filings relating to the Company’s
 3
            operations and outlook.
 4
                    e.     Defendants Reed, Saranos, and Neumann signed the Company’s
 5
            materially false and misleading 2020 10-K and 2021 10-K.
 6

 7                  f.     Awarding Netflix’s senior executives lavish compensation

 8          packages, despite their responsibility for the Company’s willful misconduct.

 9          132.    In Netflix’s 2022 Proxy Statement, the current Board failed to disclose the known
10
     risks to the Company by Netflix’s of streaming competition, post-pandemic forces, and shared
11
     accounts between households.
12
            133.    Accordingly, the Director Defendants face a substantial likelihood of liability for
13
     their breach of fiduciary duties, making any demand upon them futile.
14

15          134.    Additionally, the Audit Committee Defendants at all relevant times, had specifically

16   defined duties to properly oversee: (i) the integrity of the Company’s publicly reported financial
17   statements, press releases, and guidance; (ii) its system of internal, financial, and administrative
18
     controls; and (iii) the Company’s compliance with legal and regulatory requirements, including risk
19
     management policies and consumer privacy violation risks. Thus, the Audit Committee
20
     Defendants were responsible for knowingly or recklessly allowing and failing to correct the
21

22   improper conduct detailed herein.

23          135.    For these reasons, the Audit Committee Defendants face a substantial likelihood of

24   liability for their breach of fiduciary duties, making any demand upon them futile.
25          136.    Additionally, the Nominating and Corporate Governance Defendants have
26
     extensive, high-level experience in corporate governance and business, making them very
27
     sophisticated board members.        Three of the four Nominating and Corporate Governance
28
                         VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                            27
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 28 of 39



 1   Defendants are founders of companies, and one is the president of a Fortune top 20 corporation.
 2   All have served on public company boards and/or are affiliated with other companies with
 3
     subscription services and thus knew or should have known the problems that having a significant
 4
     percentage of Netflix viewing households be the result of shared accounts, and thus non-paying
 5
     customers, above and beyond their knowledge of Netflix. Further, due to their experience, the
 6

 7   Nominating and Corporate Governance Defendants know how critical the accuracy of public

 8   disclosures is, that it is vitally important that insiders do not trade shares on non-public knowledge,

 9   and that members of a board take immediate steps when improper or unlawful corporate conduct
10
     occurs.     Thus, the Nominating and Corporate Governance Defendants were responsible for
11
     knowingly or recklessly allowing and failing to correct the improper conduct detailed herein.
12
               137.   For these reasons, the Nominating and Corporate Governance Defendants face a
13
     substantial likelihood of liability for their breach of fiduciary duties, making any demand upon
14

15   them futile.

16             138.   Defendants Neumann, Hastings, Sarandos and Peters are named as defendants in the
17   related Securities Class Action, which alleges that they violated Sections 10(b) and 20(a) of the
18
     Exchange Act by affirmatively making false and/or misleading statements and cause members of
19
     the Class of the Securities Class Action to purchase Netflix’s securities at an inflated price. These
20
     federal securities violations also constitute breaches of Defendants’ fiduciary duties.
21

22                E. Defendants Hoag, Mather, and Sarandos are Interested Based on Their
                     Challenged Insider Sales.
23
               139.   Defendants Hoag, Mather, and Sarandos are each directly interested based on their
24
     challenged, illicit insider sales, pursuant to which they received direct financial benefits not shared
25

26   with all other Netflix shareholders, and they each are likewise interested based on a substantial

27   likelihood of liability for breaching their fiduciary duties of loyalty and good faith, and unjust

28   enrichment as a result of their challenged stock sales.
                         VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                            28
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 29 of 39



 1          140.    Based on their suspicious insider sales, pursuant to which they each received direct
 2   financial benefits not shared with all other Netflix shareholders, Defendants Hoag, Mather, and
 3
     Sarandos are not disinterested directors and demand was not required of any of them.
 4
            141.    Therefore, any demand on these Director Defendants is futile.
 5
                 F. Demand is Excused Because the Director Defendants Face Substantial Liability
 6                  for Misstatements.
 7
            142.    The Director Defendants executed a Power of Attorney handing over to Defendant
 8
     Hastings and Defendant Neumann their authority and capacity to “…sign any and all amendments
 9
     to [Netflix’s Annual] Report, and to file the same, with all exhibits thereto, and other documents in
10

11   connection therewith, with the Securities and Exchange Commission…”

12          143.    As a result of that Power of Attorney, the Director Defendants face a substantial

13   likelihood of liability for the misstatements in the Company’s Annual Report for the years 2020
14
     and 2021.
15
            144.    Therefore, any demand on the Director Defendants would be futile.
16
                 G. Demand Is Excused for Additional Reasons
17
            145.    Demand is futile because the Board is dominated and controlled by Defendant
18

19   Hastings because of his immense influence as founder of the company and long tenure as CEO and

20   Chairperson. Defendant Hasting built Netflix into one the largest subscription streaming
21   entertainment companies in the world.
22
            146.    Defendant Hastings has served as the Co-CEO and Chairperson of the Board since
23
     1997. He is undeniably the most influential, significant and wealthy individual at Netflix, with his
24
     net worth reported by Forbes to be more than $2 billion in 2022, and he ranks among the most
25

26   influential and significant business leaders in the United States, if not the world. In 2020, Fortune

27   rated Hastings as the fourth most important businessperson of the year, bested only by Elon Musk

28   and two others. In 2021, Variety considered him one of the most influential entertainment leaders
                       VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                          29
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 30 of 39



 1   and icons on the planet. Defendant Hastings was one of the TIME 100 in 2021, which is a list of
 2   the individuals Time Magazine considers the most important people in the world.
 3
            147.    The Director Defendants are likewise conflicted and unable to pursue the
 4
     Company’s claims against the Officer Defendants. Any effort to directly prosecute such claims
 5
     against the Officer Defendants for their direct roles in the violations of applicable law carried out
 6

 7   in Netflix’s name would necessarily expose the Board’s own culpability for the very same

 8   conduct. In other words, given that the Board was required to be regularly informed concerning

 9   the Company’s public reporting, outlook, controls, and employment decisions with respect to the
10
     Company’s most senior officers, any effort by the Board to hold the Officer Defendants liable
11
     would lead the Officer Defendants to defend on the ground that their own conduct was consistent
12
     with corporate policy and practice, as established by and known to the Board.
13
            148.    Moreover, the acts complained of constitute violations of the fiduciary duties owed
14

15   by Netflix’s officers and directors, and these acts are incapable of ratification. Despite having

16   knowledge of the claims and causes of action raised by Plaintiff, the Board has failed and refused
17   to seek to recover on behalf of the Company for any of the wrongdoing alleged by Plaintiff herein.
18
                                       FIRST CAUSE OF ACTION
19                                      Breach of Fiduciary Duties
                                     (Against the Officer Defendants)
20
            149.    Plaintiff incorporates by reference and realleges each and every allegation contained
21
     above, as though fully set forth herein.
22

23          150.    The Officer Defendants owed fiduciary duties to Netflix and its stockholders. By

24   reason of their positions as fiduciaries to the Company, the Officer Defendants owed duties of good

25   faith, loyalty, candor, and truthful disclosure. In addition, the Officer Defendants have specific
26
     fiduciary duties as defined by the Company’s corporate governance documents, including its Code
27
     of Business Conduct and Ethics, and principles that, had they been discharged in accordance with
28
                        VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                           30
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 31 of 39



 1   the Officer Defendants’ obligations, would have prevented the misconduct and the consequent
 2   harm to the Company.
 3
            151.    The Officer Defendants violated these duties by issuing, causing to be issued, or
 4
     otherwise allowing the material omissions and misrepresentations described herein.
 5
            152.    The Officer Defendants consciously breached their fiduciary duties and violated
 6

 7   their corporate responsibilities in at least the following ways: affirmatively making, allowing to be

 8   made, and/or failing to correct improper statements in SEC filings relating to the Company’s

 9   operations and financial outlook.
10
            153.    As a direct and proximate result of the Officer Defendants’ breaches of their
11
     fiduciary obligations, Netflix has sustained significant damages. Accordingly, the Officer
12
     Defendants are liable to the Company.
13
            154.    Plaintiff, on behalf of Netflix, has no adequate remedy at law.
14

15                                    SECOND CAUSE OF ACTION
                                        Breach of Fiduciary Duties
16                                   (Against the Director Defendants)
17          155.    Plaintiff incorporates by reference and realleges Paragraphs 1 through 148 above.
18          156.    The Director Defendants owed and owe Netflix fiduciary obligations. By reason of
19
     their fiduciary relationships, the Director Defendants specifically owed and owe Netflix the highest
20
     obligation of good faith, fair dealing, loyalty, and due care in the administration of the affairs of
21
     the Company, including, without limitation, the oversight of the Company’s compliance with state
22

23   and federal privacy laws, rules, and regulations, as well as the duty of candor and truthful disclosure

24   with respect to their public statements.

25          157.    The Director Defendants also owed and owe Netflix fiduciary duties under state
26
     corporation law, which impose broad obligations on Defendants vis-a-vis the corporation and its
27
     individual stockholders.
28
                        VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                           31
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 32 of 39



 1             158.   In addition, the Director Defendants have specific fiduciary duties as defined by the
 2   Company’s corporate governance documents, and the charters of various Board committees, and
 3
     principles that, had they been discharged in accordance with the Director Defendants’ obligations,
 4
     would have prevented the misconduct and the consequent harm to the Company.
 5
               159.   Each Director Defendant violated his or her fiduciary duties by consciously causing,
 6

 7   or consciously failing to prevent the Company from engaging in, the improper acts complained of

 8   herein.

 9             160.   The Director Defendants consciously breached their fiduciary duties and violated
10
     their corporate responsibilities in at least the following ways:
11
               a.     Failing to maintain an adequate system of oversight, accounting controls and
12
     procedures, disclosure controls, and other internal controls, which were necessary to prevent or
13
     promptly correct the improper statements made on the Company’s behalf;
14

15             b.     Affirmatively making, allowing to be made, and/or failing to correct improper

16   statements in SEC filings relating to the Company’s operations and financial outlook;
17             c.     Failing to ensure the Company’s compliance with relevant legal and regulatory
18
     requirements, including, but not limited to, requirements imposed under privacy laws as well as
19
     state and federal securities laws;
20
               d.     Awarding Netflix’s senior executives lavish compensation packages, and paying the
21

22   Officer Defendants substantial sums, despite their responsibility for the Company’s willful

23   misconduct;

24             e.     Causing Netflix to purchase $600 million of stock at prices artificially inflated by
25   Defendants’ conduct; and
26
               f.     Reappointing the same directors who had failed in their duties to the Audit
27
     Committee.
28
                         VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                            32
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 33 of 39



 1          161.      As a direct and proximate result of the Director Defendants’ breaches of their
 2   fiduciary obligations, Netflix has sustained significant damages. Accordingly, the Director
 3
     Defendants are liable to the Company.
 4
            162.      Plaintiff, on behalf of Netflix, has no adequate remedy at law.
 5
                                      THIRD CAUSE OF ACTION
 6                 Breach of Fiduciary Duties for Insider Selling and Misappropriation of
 7                    Company Information (Against the Insider Selling Defendants)

 8          163.      Plaintiff incorporates by reference and realleges Paragraphs 1 through 148 above.

 9          164.      At the time the Insider Selling Defendants sold their Netflix stock, they were in
10
     possession of material, adverse, non-public information concerning the Company, and they sold
11
     their stock on the basis of that information.
12
            165.      The material, adverse, non-public information at issue—which concerned the
13
     Company’s financial condition, future business prospects, revenue growth, and the sufficiency of
14

15   its Company’s internal controls—was a proprietary asset belonging to the Company that must be

16   used to benefit the Company and all its shareholders on equal terms. Instead, the Insider Selling
17   Defendants misappropriated this information entirely for their own benefit.
18
            166.      At the time of their stock sales, the Insider Selling Defendants knew the truth about
19
     the Company’s financial condition, its future business prospects, and account sharing hindering
20
     Company growth.
21

22          167.      The Insider Selling Defendants’ sales of stock while in possession and control of

23   this material, adverse, non-public information was a breach of their fiduciary duty of loyalty and

24   good faith.
25          168.      Since the use of the Company’s proprietary information for their own gain
26
     constitutes a breach of the Insider Selling Defendants’ fiduciary duties, the Company is entitled to
27

28
                         VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                            33
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 34 of 39



 1   the imposition of a constructive trust on any profits that the Insider Selling Defendants obtained
 2   thereby.
 3
            169.    As a direct and proximate result of the Insider Selling Defendants’ breaches of
 4
     fiduciary duties, the Company has suffered significant damages, as alleged herein.
 5
            170.    Plaintiff, on behalf of Netflix, has no adequate remedy at law.
 6

 7                                   FOURTH CAUSE OF ACTION
                                       Waste of Corporate Assets
 8                                 (Against the Individual Defendants)

 9          171.    Plaintiff incorporates by reference and realleges Paragraphs 1 through 148 above.
10          172.    As a result of the misconduct described above, Defendants have wasted corporate
11
     assets by forcing the Company to expend valuable resources in defending itself in the ongoing
12
     litigation, in addition to any ensuing costs from a potential settlement or adverse judgment.
13
            173.    Further, as a result of the failure to allow the Company to implement adequate
14

15   internal and financial controls, the Individual Defendants have caused Netflix to waste its assets by

16   paying improper compensation and bonuses to certain of its executive officers and directors that

17   breached their fiduciary duties.
18          174.    In addition, Defendants have wasted corporate assets by causing Netflix to
19
     prepurchase $600 million of stock at prices artificially inflated by their misconduct.
20
            175.    As a result of their waste of corporate assets, Defendants are liable to the Company.
21
            176.    Plaintiff, on behalf of Netflix, has no adequate remedy at law.
22

23                                    FIFTH CAUSE OF ACTION
                                           Unjust Enrichment
24                                 (Against the Individual Defendants)

25          177.    Plaintiff incorporates by reference and realleges Paragraphs 1 through 148 above.
26          178.    By their wrongful acts and omissions, the Individual Defendants were unjustly
27
     enriched at the expense of and to the detriment of Netflix. Defendants were unjustly enriched
28
                        VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                           34
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 35 of 39



 1   because of the compensation and remuneration they received while breaching fiduciary duties owed
 2   to the Company.
 3
            179.    Plaintiff, as a stockholder and representative of Netflix, seeks restitution from
 4
     Defendants, and each of them, and seeks an order of this Court disgorging all profits, benefits,
 5
     severance payments, and other compensation obtained by Defendants, and each of them, in
 6

 7   connection with, from or at the time of their wrongful conduct and fiduciary breaches.

 8          180.    Plaintiff, on behalf of Netflix, has no adequate remedy at law.

 9                                       PRAYER FOR RELIEF
10
            WHEREFORE, Plaintiff demands judgment as follows:
11
            A.      Finding that a stockholder demand on the Netflix Board would have been a futile
12
     and useless act;
13
            B.      Finding that Defendants have breached their fiduciary duties to the Company,
14

15   wasted corporate assets, and were unjustly enriched;

16          C.      Against each Defendant in favor of Netflix for the amount of damages sustained by
17   Netflix, jointly and severally, in an amount to be determined at trial, together with pre- and post-
18
     judgment interest at the maximum legal rate allowable by law;
19
            D.      Requiring Defendants to return to Netflix all compensation and remuneration of
20
     whatever kind paid to them by the Company during the time that they were in breach of their
21

22   fiduciary duties;

23          E.      Directing Netflix to take all necessary actions to reform and improve its corporate

24   governance and internal procedures to comply with applicable laws and to protect Netflix and its
25   stockholders from a repeat of the damaging events described herein, including, but not limited to,
26
     putting forward for stockholder vote, resolutions for amendments to the Company's Bylaws or
27

28
                         VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                            35
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 36 of 39



 1   Articles of Incorporation and taking such other action as may be necessary to place before
 2   stockholders for a vote of the following corporate governance policies:
 3
                    1.      A proposal to strengthen the Company's controls over accounting and
 4
            financial reporting;
 5
                    2.      A proposal to strengthen the Board's supervision of operations (including
 6

 7          research & development along with third-party contracts) and develop and implement

 8          procedures for greater stockholder input into the policies and guidelines of the Board;

 9                  3.      A proposal to strengthen Netflix’s disclosure controls to ensure material
10
            information is adequately and timely disclosed to the SEC and the public;
11
                    4.      A provision to control insider selling and conflicts of interest;
12
                    5.      A provision to permit the stockholders of Netflix to nominate at least three
13
            candidates for election to the Board;
14

15                  6.      A proposal to enhance and/or augment the audit, risk and compliance

16          committees of the Board to oversee internal controls and compliance processes;
17                  7.      A proposal to ensure that the Chief Compliance, Risk and Legal Officer(s)
18
            and other company leadership have (a) necessary subject matter and regulatory expertise;
19
            (b) direct reporting authority to the Board; and (c) adequate autonomy and resources to carry
20
            out their responsibilities;
21

22                  8.      A proposal to review and implement revised codes of conduct, policies and

23          procedures, training, integrity hotlines, auditing and monitoring processes and procedures;

24                  9.      A proposal to review and implement the confidential reporting structure and
25          investigative process of complaints within the company;
26

27

28
                         VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                            36
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 37 of 39



 1          F.      Directing Defendants to establish, maintain, and fully fund effective corporate
 2   governance and compliance programs to ensure that Netflix’s directors, officers, and employees do
 3
     not engage in wrongful or illegal practices;
 4
            G.      Granting additional appropriate equitable and/or injunctive relief to remedy
 5
     Defendants’ misconduct, as permitted by law;
 6

 7          H.      Awarding Plaintiff the costs and disbursements of this action, including reasonable

 8   attorneys’ and experts’ fees and expenses; and

 9          I.      Granting such other and further relief as this Court deems just and equitable.
10
                                              JURY DEMAND
11
            Plaintiff demands a trial by jury as to all issues so triable.
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                       VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                          37
          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 38 of 39



 1   Dated: July 14, 2022             Respectfully submitted,
 2

 3
                                      /s/ Azra Mehdi
 4                                    AZRA MEHDI
 5                                    THE MEHDI FIRM, PC.
                                      201 Mission Street, Suite 1200
 6                                    San Francisco, CA 94105
                                      Telephone: (415) 293-8039
 7                                    Facsimile: (415) 432-4301
                                      azram@themehdifirm.com
 8
                                      HERMAN JONES LLP
 9                                    John C. Herman (Ga. Bar No. 348370)
                                      (to seek admission pro hac vice)
10                                    Candace Smith (Ga. Bar No. 654910)
                                      (to seek admission pro hac vice)
11                                    3424 Peachtree Road, N.E., Suite 1650
                                      Atlanta, Georgia 30326
12                                    Telephone: (404) 504-6500
                                      Facsimile: (404) 504-6501
13                                    jherman@hermanjones.com
                                      csmith@hermanjones.com
14
                                      Attorneys for Plaintiff Cori B. TARATOOT
15

16

17

18

19

20

21

22

23

24

25

26

27

28
                      VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
                                         38
DocuSign Envelope ID: D370E450-CDEE-41E1-B7E7-272CCD980ACC
                          Case 3:22-cv-04134 Document 1 Filed 07/14/22 Page 39 of 39




                                                       VERIFICATION


                    I, CORI B. TARATOOT, hereby verify that I am familiar with the allegations in the

            Verified Stockholder Derivative Complaint (“Complaint”), and that I have authorized the filing of

            the Complaint and that the foregoing is true and correct to the best of my knowledge, information,

            and belief.

                                    12
                    Executed this ____ day of July, 2022.


                                                                _____________________
                                                                CORI B. TARATOOT
